                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION

 Johnny H. Coble, Jr. and Robin Coble, both
 on behalf of their minor child "J.H.C.",

                        Plaintiffs,                       Civil Action No. 3:20-cv-00596

        v.

 Lake Norman Charter School, Inc.; Rick
 Buckler, Board Chairman; Leslie Fogarty,
 Board Vice-Chairman; Jared Tilley, Treasurer
 and Board Member; Stephanie Painter,
 Secretary and Board Member; Amy Carr,
 Board Member; Ridgely Chapman, Board
 Member; Jennifer Johnson, Board Member;
 Greg Kilpatrick, Board Member; and
 Elizabeth Timkovich, Board Member,

                        Defendants.


                REPLY MEMORANDUN RE MOTION TO RECONSIDER

       Defendants’ Brief in Opposition to Plaintiffs’ Motion to Reconsider (Doc. 34) misses the

mark in several regards.

       First, Defendants’ Brief in Opposition construes the Plaintiffs’ presentation of the case far

too narrowly. While Plaintiffs have steadfastly maintained from the outset that Lemon does not

govern this suit, Plaintiffs have repeatedly argued in the alternative that Defendants’ decision to

teach the Poet X as part of the ninth-grade language arts curriculum in a public school violates the

Establishment Clause even if Lemon does in fact control. In fact, Plaintiffs devoted four pages of

their 11-page Memorandum in Support of the Motion to Reconsider making precisely that

argument. Doc. 33-1, pp. 4-7.



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       And second, Defendants continue to posit that the Fourth Circuit’s Wood v. Arnold case

somehow controls on the question of whether Lemon remains good law. That supposition simply

cannot be true; as demonstrated in Plaintiffs’ Memorandum in Support of the Motion to

Reconsider, the parties in Wood v. Arnold assumed the validity of Lemon and presented the case

exclusively under the so-called Lemon test. The Wood plaintiffs did not so much as suggest in a

footnote or anywhere else that Lemon did not control (which is not surprising since Wood ran its

course before the Supreme Court issued its American Legion opinion). Thus, neither the Fourth

Circuit nor the Supreme Court was presented with any challenged to Lemon’s continued vitality

during the course of the Wood v. Arnold proceedings. Put simply, Wood v. Arnold cannot be

construed as controlling precedent on a questions that was neither presented to nor ruled on by the

courts during the course of those proceedings.

       WHEREFORE, for the reasons stated in Plaintiffs’ Motion to Reconsider and the

Memorandum in Support of that Motion, Plaintiffs respectfully request that the Court enter an

Order retracting its dismissal of this matter and denying Defendants’ Motion to Dismiss.

       This the 29th day of April, 2021.

                                                     s/Joel M. Bondurant, Jr.________
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                                 CERTIFICATE OF SERVICE

        I hereby certify that on the date specified below, I electronically filed the forgoing REPLY
with the Clerk of Court using the CM/ECF System, and that said Motion shall therefore be
electronically served on Defendant/Plaintiff via NEF to his counsel through the Court’s system at
the email address counsel has registered in that system. Counsel’s information is as follows:

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 Attorney for Defendants



       This the 29th day of April, 2021.

                                                     s/Joel M. Bondurant, Jr.________
                                                     Joel M. Bondurant, Jr., #29621




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